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1    LAW OFFICES OF THOMAS M. CONNELLY
2
     Thomas M. Connelly (Az. Bar. No. 012987)
     2425 East Camelback Road, Suite 880
3    Phoenix, Arizona 85016
4
     Phone: (602) 957-1993
     Facsimile: (602) 957-2137
5    Tconnelly2425@aol.com
6
     LAW OFFICES OF THOMAS J. MARLOWE
7    Thomas J. Marlowe (Az. Bar No. 016640)
     2425 East Camelback Road, Suite 880
8
     Phoenix, Arizona 85016
9    Phone: (602) 957-1993
     Facsimile: (602) 957-2137
10
     Tmarlowe2425@outlook.com
11   Attorneys for Bardwell Defendants

12
                         IN THE UNITED STATES DISTRICT COURT
13

14                                  DISTRICT OF ARIZONA
15
     Ronald H. Pratte,                               Case No.: 2:19-cv-00239-PHX-GMS
16
                  Plaintiff,
17
                                                     NOTICE OF SERVICE OF
     vs.
18                                                   DEFENDANTS’ FIRST AMENDED
                                                     MANDATORY INITIAL DISCOVERY
19   Jeffrey Bardwell and Fanny F. Bardwell,
                                                     RESPONSES
     husband and wife,
20
                  Defendants.
21

22         Defendants Jeffrey Bardwell and Fanny F. Bardwell, by and through their
23
     attorneys of record, hereby provide Notice of Service to the court of Defendants’ First
24
     Amended Mandatory Initial Discovery Responses.
25

26

27

28




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              Case 2:19-cv-00239-GMS Document 34 Filed 11/04/19 Page 2 of 2



1            Dated this 4th of November, 2019.
2

3
                                               By: /s/ Thomas J. Marlowe
4                                              LAW OFFICES OF THOMAS J. MARLOWE
                                               2425 East Camelback Road, Suite 880
5
                                               Phoenix, Arizona 85016
6                                              Attorney for Defendants
7

8                                 CERTIFICATE OF SERVICE
9
             I, Thomas J. Marlowe, hereby certify that on November 4, 2019, I electronically
10
     transmitted the foregoing document to the Clerk’s Office using the ECF system for filing
11

12   and transmittal of a Notice of Electronic Filing to the following ECF registrant(s) in this

13   case.
14
     By: /s/ Thomas J. Marlowe
15

16
     Gregory B. Collins
     Zachary R. Fort
17   KERCSMAR & FELTUS PLLC
     7150 East Camelback Road, Suite 285
18
     Scottsdale, Arizona 85251
19   gbc@kflawaz.com
     zrf@kflawaz.com
20

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23

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